                        Case 1:16-cr-00228-LO Document 10 Filed 06/29/17 Page 1 of 1 PageID# 61
AO 442 (Rev. 01/09) Arrest Warrant



                                          United States District Court ur;iTEo
                                                                     for the                               ?t)##«CT             AH 1-liQ
                                                        Eastern District of Virgi i                                 JTEr'.'DISTRICT
                                                                                                                 JOF ViRQI.'JiA
                                                                                         ivl 2 9 2017        M^/iANOHlA DIVISION
                      United States of America
                                 V.
                                                                                          " r. niSTRlCTCOIiRT

                          Jurijs Martisevs
                                                                               ckseNo. 1:16-cr-228
                                aka
                         Jurijs Bereverovs                                               UMD
                              Defendant


                                                        ARREST WARRANT

To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to bearrested) Jurijs Martlsevs aka Jurijs Bereverovs
who is accused of an offense or violation based on the following document filed with the court:

S?f Indictment             • Superseding Indictment           • Information       • Superseding Information           • Complaint
• Probation Violation Petition               • Supervised Release Violation Petition      • Violation Notice • Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 371                           Conspiracy.
18 U.S.C. § 1349                          Conspiracy to Commit Wire Fraud.
18 U.S.C. §§ 1343 & 2                     Wire Fraud &Aiding and Abetting.
18 U.S.C. §§ 2& 1030(a)(5)(A) Computer Intrusion With Intentto Damage &Aiding and Abetting.




Date:        10 la                                                                                                        .<1
                                                                                                    officer's signature


City and state: Alexandria, Virginia                                                  .lnr)i4K [sxtkarnp^lpkiCie/K
                                                                                             Printedname aridtitle '


                                                                    Return


          This warrant was received on (date)           /c//^ /^person was arrested on (date) ^ / 7
at (city and state)                          ^                                   ^       ^

Date
                                                                                                        ver's signature



                                                                                             Printed name and title
